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Quinn Porter
3300 Chesley Avenue
Parkville, Maryland 21234

Plaintiff,

v.

Hunt Valley Contractors, Inc.
3705 Crondall Lane
Owings Mills, Maryland 21117

Defendant,

Serve on Resident Agent:

Linda Sparks
3705 Crondall Lane
Owings Mills, Maryland 21117

AND

‘Tom Sparks
3705 Crondall Lane
Owings Mills, Maryland 21117

Defendant,
AND

T.J. Spampinato
3705 Crondall Lane
Owings Mills, Maryland 21117

Defendant.
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COMPLAINT

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BALTIMORE CITY =
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Case No.:

COMES NOW, Quinn Porter, by and through his attorneys, Paul V. Bennett, Esq.,

Jeffrey J. Sadri, Esq., and the Law Offices of Bennett & Ellison, P.C., and hereby sues

Defendants Hunt Valley Contractors, Inc., Tom Sparks, and T.J. Spampinato (collectively

referred to herein as “Defendants”), and states as follows:
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JURISDICTION AND VENUE
This Court has personal jurisdiction pursuant to MD. CODE ANN., CTS, & JUD. PROC, §
6-102, as Defendant Hunt Valley Contractors, Inc. (hereinafter referred to as
“Defendant HVC”) maintains their principal place of business in Maryland and may
be served with process in Maryland.
This Court has personal jurisdiction pursuant to MD. CODE ANN., CTs. & JUD. PROC,
§§ 6-102, 6-103(b), as Defendants Tom Sparks and T.J. Spampinato maintain their
principal place of business in Maryland, transact business in Maryland, and are
believed to be domiciled in Maryland.
This Court constitutes the proper venue pursuant to Mb. CODE ANN., CTS. & JUD.
PROC. § 6-201, as Defendants carry on regular business in Baltimore City, Maryland.
This Court has subject matter jurisdiction pursuant to the Maryland Wage and Hour
Law, MD. CODE ANN., LAB. & EMPL., § 3-401, ef seg. (hereinafter referred to as
“MWHL”).
This Court has subject matter jurisdiction pursuant to the Maryland Wage Payment
and Collection Law, Mp. Cope ANn., LAB. & EMPL., § 3-501, ef seq. (hereinafter
referred to as “MWPCL”).
This Court may adjudicate claims brought under the Fair Labor Standards Act of
1938 (as amended), 29 U.S.C, § 201, ef seg. (hereinafter referred to as “FLSA”).
This Court may adjudicate claims brought under Maryland common law.
That at all times relevant herein, each Defendant constituted an “employer” within the

meaning of the MWHL, MWPCL, and FLSA.
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FACTS COMMON TO ALL COUNTS
Defendant HVC employed Plaintiffias a Laborer from approximately February 2,
2017, until his termination from employment on or about December 26, 2018,
At all times relevant herein, Defendant Tom Sparks constituted the Chief Executive
Officer and an owner of Defendant HVC. As such, Defendant Tom Sparks had
authority to hire, fire, suspend, and otherwise discipline Plaintiff; authority to
supervise Plaintiff and control his work schedule and employment conditions;
authority to determine the rate and method of Plaintiff's pay; and authority to
maintain Plaintiff's employment records. Defendant Tom Sparks thereby exercised
substantial control over the terms and conditions of Plaintiff's employment to qualify
as Plaintiff's “employer” under the MWHL, MWPCL, and FLSA.
At all times relevant herein, Defendant T.J. Spampinato served as Defendant HVC’s
Vice-President of Operations, and co-owner. Thus, Defendant T.J. Spampinato had
authority to fire and otherwise discipline Plaintiff, authority to supervise Plaintiffand
control his work schedule and employment conditions; authority to determine the rate
and method of Plaintiff's pay; and authority to maintain Plaintiff's employment

records. Defendant T.J. Spampinato thereby exercised substantial control over the

_terms and conditions of Plaintiff's employment to qualify as Plaintiff's “employer”

under the MWHL, MWPCL, and FLSA.

While employed by the Defendants, Plaintiff worked at least forty (40) hours per
week. From approximately February 2, 2017, to February 2, 2018, Plaintiff made an
hourly wage of twenty dollars ($20.00) per hour. From approximately February 3,

2018, until December 26, 2018, he made an hourly wage of twenty-one dollars
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($21.00) per hour. Plaintiff also received employment benefits, including, without
limitation, health insurance.

Plaintiff's job duties as a Laborer included, without limitation, loading Defendants’
vehicles with materials, driving Defendants’ vehicles to and from job sites, and
working on commercial projects in Maryland, the District of Columbia, and Virginia,
Plaintiff did not supervise other employees on a regular basis, nor did he work in an
administrative, executive, and/or professional capacity while employed by the
Defendants.

In 2017, Plaintiff was supervised by Lewis (“Pete”) Studebaker, employed by
Defendants as a Foreman, and Travis Spampinato, employed by Defendants as a
Superintendent, In 2018, Plaintiff was supervised by Lee Hensley, employed by
Defendants as a Foreman, and Travis Spampinato. During his employment with
Defendants, Plaintiff also reported to other Foremen and upper management officials
on an as-needed basis.

Plaintiff was required to report to the Defendants’ principal place of business (3705
Crondal! Lane, Owings Mills, Maryland 21117), commonly referred to as “the shop”
(hereinafter referred to as “the shop”), at 5:30 a.m., approximately ftve (5) to six (6)
days per week. Defendants’ employment handbook stated, in pertinent part, “all field
employees are expected to report to the shop by 5:30am daily.” Plaintiff constituted a
field employee employed by the Defendants. After Plaintiff arrived at the shop,
Defendants would then inform him of his job assignment(s).

As a field employee, if Plaintiff did not report to Defendants’ shop at 5:30 a.m., then

he could be subjected to disciplinary action,
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After Plaintiff arrived at Defendants’ shop at 5:30 a.m., he was under the Defendants’
control and was thereby required to be on duty.

After Plaintiff arrived at Defendants’ shop at 5:30 a.m., Plaintiff performed work for
the Defendants’ benefit and under the Defendants’ control, while at the shop, By way
of example, Plaintiff loaded Defendants’ vehicles with different materials, which was
“integral and indispensable” to Plaintiff's principal job duties as a Laborer.
Defendants gave daily work assignments to Plaintiff and other field employees upon
arrival at the shop.

Plaintiff was also required to report to the shop to receive instructions from his
supervisors. Plaintiff “waited” at Defendants’ shop until he received instructions from
the Defendants regarding what job duties to perform. Plaintiff's “waiting time” was
thereby under the Defendants’ control and for the Defendants’ benefit, and the
“waiting time” was an integral part of Plaintiff's job. Plaintiff was thereby “engaged
to wait” at the shop.

Plaintiff remained at the Defendants’ shop until he was instructed to travel to the job
site (which could be, by way of example, in Maryland, Virginia, or the District of
Columbia). Therefore, all time which Plaintiff spent at the Defendants’ shop, until he
left for the job site, constituted compensable time under federal and state laws,
Plaintiff's travel time from Defendants’ shop to the job site, which was often at least
one and one-half (1 4) to two (2) hours per day, constituted compensable travel time
under federal and state laws, as said travel time was “working time,” e.g. that which
occurred during regular work hours, and that which constituted a continuation of his

principal work activities. Plaintiff often traveled from the shop to the job site in a
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Defendant vehicle. Additionally, on various occasions, Plaintiff drove a Defendant
vehicle from the shop to the job site,

From approximately April 3, 2017 to February 2, 2018, Plaintiff was not
compensated for approximately seventy-six (76) regular hours and one hundred and
eleven and one-half (111.50) overtime hours, which represents time Plaintiff spent at
the shop and time Plaintiff spent traveling from the shop to the job site, and for which
he was not compensated. During this time frame, Plaintiff made twenty dollars
($20.00) per hour. As such, Plaintiff is owed Ao pendaaiely four thousand eight
hundred sixty-five dollars ($4,865.00) for the April 3, 2017-February 2, 2018 time
period.

From approximately February 5, 2018 to December 20, 2018, Plaintiff was not
compensated for approximately sixty-nine and one-half (69.50) regular hours and
fifty-three and oot (53.50) overtime hours, which represents time Plaintiff spent
at the shop and time Plaintiff spent traveling from the shop to the job site, and for
which he was not compensated. During this time period, Plaintiff made twenty-one
dollars ($21.00) per hour. As such, Plaintiff is owed approximately three thousand
one hundred forty-four dollars seventy-five cents ($3,144.75) for the February 5,
2018-December 20, 2018 time period.

On average, Plaintiff spent approximately eight and one-half (8 4) hours at the job
site on any given day. After finishing work at the job site, Plaintiff would load the
materials back into the Defendant vehicle(s) for transportation back to the shop.

Plaintiff also frequently drove a Defendant vehicle back to the shop.
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On various occasions, Defendants did not compensate Plaintiff for the travel time
from the job site back to the shop, despite Defendants having control over the
Plaintiff. During this travel time, Defendants frequently made stops and went to other
job sites to perform work. Plaintiff and other employees also had to remain awake
during the ride from the shop back to the job site.

Throughout his employment with Defendants, Plaintiff repeatedly complained to
Travis Spampinato, Mr, Hensley, and other Foremen about Defendants’ failure to pay
him in accordance with federal and state laws, and thereby he protested against what
he objectively believed constituted unlawful employment practices. By way of
example, Plaintiff told said individuals that Defendants were legally required to
compensate him for travel time. |

In or about September of 2018, Plaintiff complained to Defendant T.J. Spampinato
about what he perceived constituted unlawful wage and hour practices. Plaintiff told
Defendant T.J. Spampinato that Defendants were legally required to pay him for
travel time. Defendant T.J. Spampinato told Plaintiff that Defendants had “consulted
with lawyers” about wage and hours laws, and if Plaintiff was unhappy, he could
work elsewhere.

On a regular basis, Defendants’ managerial officials, including, without limitation,
Maurice Womack (employed by Defendants as a Superintendent), Travis
Spampinato, and Defendant T.J. Spampinato, said that Defendants “had lawyers,” an

obvious reference to Defendants’ violations of federal and state wage and hour laws. .
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In approximately late November of 201 8/early December of 2018, Plaintiff once
again told Defendant T.J. Spampinato that federal and state laws required that he be
compensated for travel time from Defendants’ shop to the job site, and vice versa.
On December 20, 2018, at 5:30 a.m., Plaintiff arrived at Defendants’ shop per
Defendants’ policies. Shortly thereafter, Travis Spampinato instructed Plaintiff to
close a Defendant-vehicle’s tailgate, to which Plaintiff obliged, Travis Spampinato
told Plaintiff that he would not be compensated for all his travel time, Plaintiff |
expressed that the Defendants were required by law to compensate him for travel
time, and that Defendants’ refusal to do so constituted a violation of the law. Travis
Spampinato told Plaintiff that he could go home that day, and assured Plaintiff that, if
he did go home, he would not be terminated from employment, With Travis
Spampinato's permission, Plaintiff went home.
On or about December 26, 2018, Defendant T.J. Spampinato terminated Plaintiff
from employment for allegedly being insubordinate on December 20, 2018, supra.
At all times relevant herein, Plaintiff met and/or exceeded Defendants’ legitimate job
expectations.

COUNT I

VIGLATION OF THE FAIR LABOR STANDARDS ACT
OF 1938 (AS AMENDED)

FLSA, 29 U.S.C. § 201, ef seq.
(All Defendants)

Plaintiff hereby restates and incorporates paragraphs 1-32 of this Complaint as though

- fully set forth herein.

At all times material herein, Plaintiff was entitled to the rights, protections, and

benefits provided under the FLSA, 29 U.S.C. § 201, ef seq.
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At all times material herein, each Defendant was an “employer” of the Plaintiff
covered by the FLSA, 29 U.S.C. § 203(d), and Plaintiff was an “employee” covered
by the FLSA, 29 U.S.C. § 203(e)(I).

Defendants violated the FLSA by failing to account for and compensate Plaintiff for
all hours he worked, including, but not limited to, the hours he worked in excess of
forty (40) hours each workweek, as well as the corresponding overtime premium pay
for each hour he worked in excess of forty (40) hours each workweek, as described in
the Facts Common to All Counts, supra.

The FLSA regulates, among other things, the payment of an overtime premium, “not
fess than one and one-half times the regular rate at which [the employee] is
employed” for all hours worked per week in excess of forty (40), by employers whose
employees are “engaged in commerce or engaged in the production of goods for
commerce, or is employed in an enterprise engaged in commerce or in the production
of goods for commerce.” 29 U.S.C. § 207{a)(1).

Defendants are subject to the overtime pay requirements of the FLSA because each
Defendant is an enterprise engaged in commerce and/or their employees, including
Plaintiff, are engaged in commerce, as defined in the FLSA, 29 U.S.C. §§ 203(b), (s).
Defendants’ failure to properly compensate Plaintiff for all hours worked was a
blatant violation of the FLSA,

Defendants’ failure to properly compensate Plaintiff not less than one end one-half
times the regular rate at which he was employed for all hours worked per week in

excess of forty (40) was a violation of the FLSA, 29 U.S.C, § 207 and was willfully
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perpetrated, as Defendants neither acted in good faith nor had reasonable grounds to
believe their actions and omissions were not a violation of the FLSA.

As a result of the aforesaid willful violations of the FLSA's provisions, compensation
in the amount of eight thousand nine dollars seventy-five cents ($8,009.75), at a
minimum, which takes hours worked and overtime premium into consideration, has
been unlawfully withheld by Defendants from the Plaintiff for which Defendants are
liable pursuant to 29 U.S.C. § 216(b).

Plaintiff is further entitled to an award of liquidated damages in an amount equal to
the amount of unpaid compensation as described above pursuant to the FLSA, 29
U,S.C. § 216(b).

Plaintiff is further entitled to damages within the three (3) years preceding the date of
filing of this Complaint, including periods of equitable tolling, because Defendants
acted willfully and knew and/or showed reckless disregard of whether their conduct
was prohibited by the FLSA. See 29 U.S.C. § 255(a).

Pursuant to the FLSA, 29 U.S.C, § 216(b), Plaintiff is also entitled to reasonable

attorney’s fees and costs of the action.

WHEREFORE, Plaintiff prays for relief as more fully set forth below.

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COUNT I
RETALIATION

(Adverse Actions and Protected Activity Deterrents)
FLSA, 29 U.S.C. § 201, ef seq.

(All Defendants)

Plaintiff hereby restates and incorporates paragraphs |-32 of this Complaint as though

fully set forth herein.
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The FLSA renders it unlawful for employers such as Defendants “to discharge or in
any other manner discriminate against any employee because such employee has filed
any complaint or instituted or caused to be instituted any proceeding under or related
to this Act.” 29 U.S.C, § 215(a)(3).

Throughout his employment with Defendants, Plaintiff repeatedly complained to
Travis Spampinato and to Defendants about Defendants’ failure to pay him in
accordance with the FLSA. By way of example, Plaintiff told Defendants that they
were legally required to compensate him for travel time. Plaintiff thereby protested
against what he objectively believed constitution a violation of the FLSA. See, e. g.,
29 U.S.C. § 254(a); 5 C.F.R. §§ 551.401, 551.422; 29 C.F.R. 785.33.

In or about September of 2018, Plaintiff complained to Defendant T.J. Spampinato
about what he perceived constituted unlawful wage and hour practices. Plaintiff told
Defendant T.J. Spampinato that Defendants were legally required to pay him for
travel time. Defendant T.J. Spampinato told Plaintiff that Defendants had “consulted
with lawyers” about wage and hours laws, and if Plaintiff was unhappy, he could
work elsewhere.

On a regular basis, Defendants’ managerial officials, including, without limitation,
Maurice Womack, Travis Spampinato, and Defendant T.J. Spampinato, said that
Defendants “had lawyers,” an obvious reference to Defendants’ violations of the
FLSA.

In approximately late November of 2018/early December of 2018, Plaintiff once
again told Defendant T.J. Spampinato that federal law required that he be

compensated for travel time from Defendants’ shop to the job site, and vice versa.
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On December 20, 2018, at 5:30 a.m., Plaintiff arrived at Defendants’ shop per
Defendants’ policies. Shortly thereafter, Travis Spampinato instructed Plaintiff to
close a Defendant-vehicle’s tailgate, to which Plaintiff obliged. Travis Spampinato
told Plaintiff that he would not be compensated for all his travel time. Plaintiff
expressed that the Defendants were required by law to compensate him for travel
time, and that Defendants’ refusal to do so constituted a violation of the law. Travis
Spampinato told Plaintiff that he could go home that day, and assured Plaintiff that, if
he did go home, he would not be terminated from employment. With Travis
Spampinato's permission, Plaintiff went home.

On or about December 26, 2018, Defendant T.J. Spampinato terminated Plaintiff
from employment for allegedly being insubordinate on December 20, 2018.

Plaintiff engaged in activity protected from retaliation under the FLSA, including, but
not limited to, asserting complaints to Defendants, his employers, with a reasonable
and good faith belief that he was asserting rights that were protected by law.

Plaintiff suffered adverse action by his employers subsequent to his protected activity
in that he was discharged from employment after complaining about being denied pay
for hours worked. See 29 U.S.C. § 215(a)(3).

The close proximity in time between Plaintiff's protected activities and Defendants’
decision to terminate Plaintiff from employment, establishes a causal connection
between the two (2).

Because of Defendants’ willful violations of the FLSA, 29 U.S.C. § 215(a)(3),

Defendants are liable to Plaintiff under 29 U.S.C. § 216(b) for monetary relief

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including back pay, an additional equal amount as liquidated damages, and

reasonable attorney’s fees and costs.

WHEREFORE, Plaintiff prays for relief as more fully set forth below,

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COUNT III
ABUSIVE DISCHARGE IN VIOLATION OF MARYLAND PUBLIC POLICY
Maryland Common Law
(Alternative Theory of Recovery)

(All Defendants)

Plaintiff hereby restates and incorporates paragraphs | through 32 of this Complaint
as though fully set forth herein.

A Maryland employer is not permitted to terminate an employee in a manner which
contravenes a clear mandate of Maryland public policy.

There exists in Maryland a clear mandate of public policy to protect employees from
disciplinary action, including termination, for making complaints to their employers
about the payment of wages under the Maryland Wage and Hour Law (“MWHL”).
It is illegal for an employer to take adverse action against an employee because the
employee had complained to his employer that he was not paid all wages due under
the MWHL. MD. CODE ANN., LAB. & EMPL., § 3-428.

Throughout his employment with Defendants, Plaintiff repeatedly complained to
Travis Spampinato and to Defendants about Defendants’ failure to pay fifa in
accordance with the MWHL. By way of example, Plaintiff told Defendants that they
were legally required to compensate him for travel time and hours worked. Plaintiff
thereby protested against what he objectively believed constitution a violation of the

MWHL. See, e.g., COMAR 09.12.41.10.
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In or about September of 2018, Plaintiff complained to Defendant T.J. Spampinato
about what he perceived constituted unlawful wage and hour practices. Plaintiff told
Defendant T.J. Spampinato that Defendants were legally required fo pay him for
travel time. Defendant T.J. Spampinato told Plaintiff that Defendants had “consulted
with lawyers” about wage and hours laws, and if Plaintiff was unhappy, he could
work elsewhere,

On a regular basis, Defendants’ managerial officials, including, without limitation,
Maurice Womack, Travis Spampinato, and Defendant T.J. Spampinato, said that
Defendants “had lawyers,” an obvious reference to Defendants’ violations of the
MWHL.

In approximately late November of 2018/early December of 2018, Plaintiff once
again told Defendant T.J. Spampinato that state law required that he be compensated
for travel time from Defendants’ shop to the job site, and vice versa.

On December 20, 2018, at 5:30 a.m., Plaintiff arrived at Defendants’ shop per
Defendants’ policies. Shortly thereafter, Travis Spampinato instructed Plaintiff to
close a Defendant-vehicle’s tailgate, to which Plaintiff obliged. Travis Spampinato
told Plaintiff that he would not be compensated for all his travel time. Plaintiff
expressed that the Defendants were required by law to compensate him for travel
time, and that Defendants’ refusal to do so constituted a violation of the law. Travis
Spampinato told Plaintiff that he could go home that day, and assured Plaintiff that, if
he did go home, he would net be terminated from employment. With Travis

Spampinato's permission, Plaintiff went home.
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66. On or about December 26, 2018, Defendant T.J. Spampinato terminated Plaintiff
from employment for allegedly being insubordinate on December 20, 2018.

67. Plaintiff was thereby discharged in a manner which contravened a clear mandate of
Maryland public policy.

68, ‘There is a nexus between the Plaintiff's conduct and Defendants’ decision to fire him.

69. _ Plaintiff does not have a statutory remedy under Maryland law and is thereby
permitted to pursue 4 chain of wrongful discharge under Maryland common law.

70, That the intentional illegal actions complained of above were done with malice and/or
with reckless indifference to Plaintiffs rights.

71, Asadirect and proximate result of Defendants’ illegal actions, Plaintiff has suffered
lost wages and benefits, emotional distress, attorneys’ fees, and litigation costs.

WHEREFORE, Plaintiff prays for relief as more fully set forth below.

COUNT IV

VIOLATION OF MARYLAND WAGE AND HOUR LAW
Mb, CODE ANN. LAB. & EMPL, § 3-401, ef seq.

{All Defendants)

72. Plaintiff hereby restates and incorporates paragraphs 1-32 of this Complaint as though
fully set forth herein,

73, Atall times material herein, Plaintiff was entitled to the rights, protedtinns, and
benefits provided under the Maryland Wage and Hour Law. Mp. CoDE ANN., LAB. &
EMPL., § 3-401, ef seq.

74, Atall times material herein, Defendants were cach an “employer” of the Plaintiff
covered by the MWHL. MD. CODE ANN., LAB. & EMPL., § 3-40! (b),

75. The MWHL requires employers such as Defendants to compensate Plaintiff for all

hours worked, including, but not limited to, at a rate of one and one-half times his

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regular hourly rate of pay for each hour worked in excess of forty (40) hours per
workweek, MD. CODE ANN., LAB. & EMPL., §§ 3-415, 3-420.

Defendants willfully violated the MWHL by failing to account for-and compensate
Plaintiff for all hours he worked, including, without limitation, the hours he worked in
excess of forty (40) hours each workweek, as well as the corresponding overtime
premium pay for each hour he worked in excess of forty (40) hours each workweek,
as stated in the Facts Common to All Counts, supra.

As a result of the aforesaid willful violations of the MWHL’s provisions,
compensation in the amount of eight thousand nine dollars seventy-five cents
($8,009.75), at a minimum, which takes hours worked and overtime premium into
consideration, has been unlawfully withheld by Defendants from the Plaintiff for
which Defendants are liable pursuant to the MWHL.

Pursuant to MD. CODE ANN., LAB. & EMPL., §§ 3-427(a), (d), Defendants are thereby
liable to Plaintiff for unpaid wages (including unpaid overtime compensation), an
additional amount equal to the unpaid wages (including unpaid overtime

compensation) as liquidated damages, and reasonable counsel fees and costs.

WHEREFORE, Plaintiff prays for relief as more fully set forth below.

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COUNT V
VIOLATION OF THE MARYLAND WAGE PAYMENT
AND COLLECTION LAW
Mb. CODE ANN,, LAB, & EMPL., § 3-501, ef seq.
(All Defendants)

Plaintiff hereby restates and incorporates paragraphs 1-32 of this Complaint as though

fully set forth herein,

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At all times material herein, Plaintiff was entitled to the rights, protections, and
benefits provided under the Maryland Wage Payment and Collection Law, MD. CODE
ANN., LAB. & EMPL., § 3-501, ef seq.

At all times material herein, Defendants were each an “employer” of the Plaintiff
covered by the MWPCL. Mb. Cope ANnN., LAB, & EMPL., § 3-501(b).

The MWPCL requires employers such as Defendants to pay Plaintiff “all wages due
for work that the employee performed before the termination of employment, on or
before the day on which the employee would have been paid the wages if the
employment had not Raed terminated.” Mp, CODE ANN., LAB. & EMPL., § 3-505(a).
Defendants willfully failed or refused to pay Plaintiff all wages due for work he had
performed before the termination of his employment, as described in the Facts
Common to All Counts, supra, including accumulated unpaid overtime, in violation
of the MWPCL.

Defendants did not withhold the wages due as a result of a bona fide dispute. See MD.
CODE ANN., LAB. & EMPL., § 3-507.2(b).

Pursuant to the MWPCL, MD, CoDE ANN., LAB. & EMPL., § 3-507,2, Defendants are
liable to Plaintiff for three (3) times the amount of his unpaid wages, and reasonable

attorney’s fees and costs,
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PRAYER FOR DAMAGES

WHEREFORE, for the foregoing reasons, Quinn Porter, Plaintiff, demands judgment

against Defendants Hunt Valley Contractors, Inc., Tom Sparks, and T.J. Spampinato as follows:

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Compensatory damages in excess of $75,000.00;

Punitive damages in excess of $75,000.00;

Backpay and interest on same;

Prejudgment and post judgment interest;

Award attorney’s fees and costs, including expert witness fees, as allowed by law;

And for such other and further relief as this Honorable Court deems just and

equitable.

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Respectfully Submitted,

PRnxt ie

Paul V. Bennett, Esq. -

Bennett & Ellison, P.C,

2086 Generals Highway, Ste. 201
Annapolis, Maryland 21401

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Attorneys for Plaintiff

 
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DEMAND FOR JURY TRIAL
Plaintiff, Quinn Porter, by and through his attorneys, Paul V. Bennett, Esq., Jeffrey J.
Sadri, Esq., and the Law Offices of Bennett & Ellison, P.C., hereby demands that this above

captioned matter be tried before a jury on all issues so triable.

Respectfully Submitted,

Poesy Gro %

Paul V. Bennett, Esq.

Bennett & Ellison, P.C.

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Attorneys for Plaintiff

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